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                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re:                                        :      Chapter 13
                                              :
         MARIA A. TOWNES                      :
                    Debtor                    :      Bankruptcy No. 16-16498AMC


                  CHAPTER 13 STANDING TRUSTEE’S ANSWER TO
              DEBTOR’S MOTION TO MODIFY PLAN POST CONFIRMATION


         Jack K. Miller, counsel for the trustee, William C. Miller, answers the Motion to Modify
                Plan Post Confirmation as follows:

         1.     The trustee will need to review amended Schedules I and J.

         2.     The trustee may require testimony to support this motion.

       WHEREFORE, the trustee respectfully requests that the Motion to Modify Plan Post
Confirmation be denied.

                                                     Respectfully submitted,


                                                     /s/ Jack K. Miller
                                                     _____________________________
Date: January 8, 2018                                Jack K. Miller, Esquire, Staff Attorney for
                                                     William C. Miller, Esquire
                                                     Chapter 13 Standing Trustee
